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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-20497-CR-DPG

  UNITED STATES OF AMERICA,


  vs.

  SHAROD WILLIAM HOLLIE,

                 Defendant.
                                                /

    MOTION IN LIMINE TO PRECLUDE THE DEFENDANT FROM INTRODUCING
       ANY EVIDENCE OF HIS MENTAL HEALTH CONDITION AT TRIAL

         The United States of America, through undersigned counsel, requests that this Court

  exclude at trial any evidence of the defendant, Sharod William Hollie’s, mental condition. The

  defense may attempt to introduce evidence of the defendant’s mental condition to show (1) that

  his state court plea to aggravated battery charges was involuntary/invalid, (2) that he was unaware

  that his state court plea made him a convicted felon, and/or (3) that he was unaware of the

  nature/consequences of his actions or lacked the requisite mens rea when filling out the ATF forms

  at issue in this case. To date, the defendant has not provided the government with any discovery,

  including expert reports, that would support the introduction of mental health evidence at trial.

  Further, the defendant has not notified the government or filed a notice with the Court of either (1)

  an intent to seek an insanity defense, or (2) to introduce expert evidence of a mental condition at

  trial. See Fed. R. Crim. P. 12.2(a) and (b). Moreover, as explained below, a defense of diminished

  capacity (which the defendant may intend to raise through evidence of his mental condition) is not

  legally permissible based on the charged crimes, which are general intent crimes. See United

  States v. Cameron, 907 F.2d 1051, 1063 n.20 (11th Cir. 1990) (“Psychological evidence is relevant
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  to mens rea only when the defendant is charged with a specific intent crime.”). Lastly, Supreme

  Court precedent does not allow the defendant to collaterally attack his 2014 conviction during his

  trial. Lewis v. United States, 445 U.S. 55, 100 S. Ct. 915, 63 L.Ed.2d 198 (1980). Accordingly,

  any evidence pertaining to the defendant’s mental condition is irrelevant, unfairly prejudicial, and

  should be excluded.

                 FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         On November 28, 2018, the defendant visited General Pawn, LLC, a federally licensed

  firearms dealer (“FFL”), in Miami, Florida, and advised the store clerk that he was interested in

  purchasing a firearm. The defendant had not picked out a firearm to purchase but did spend several

  minutes looking at various firearms on display. The defendant was provided with ATF Form 4473,

  which he filled out with his personal information. An ATF Form 4473 includes a list of yes or no

  questions, one which asks whether the intended purchaser has previously been convicted of a

  felony, to which the defendant answered no. The defendant is a convicted felon, having pleaded

  no contest to the charge of aggravated battery on an elderly person over the age of 65. See Miami-

  Dade Case No. F10-002497. The defendant returned the form to the clerk and paid the $20

  background check fee. The defendant was not approved to purchase a firearm.

         On January 11, 2019, the defendant visited a second FFL, Estrella de Oro #19, in Miami,

  Florida, and attempted to purchase rifle parts for a broken rifle he claimed to have at home. The

  clerk advised him that it would be cheaper to purchase a new rifle, rather than parts to repair the

  one he already owned. After discussing his options with the clerk, the defendant indicated that he

  wanted to purchase a Palmetto State Armory PA-15 rifle. The clerk provided the defendant with

  an ATF 4473 form, which the defendant filled out and provided back to the clerk. The defendant

  checked “no” on the ATF Form 4473 when asked whether he was a convicted felon. The defendant,



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  again, was not approved for the purchase of a firearm. The clerk notified the defendant of his non-

  approval.

          On August 8, 2019, a Grand Jury sitting in the Southern District of Florida charged the

  defendant with two counts of making a false statement in required information kept by a firearms

  dealer, in violation of Title 18, United States Code, Section 924(a)(1)(A), and one count of making

  a false statement to a federally licensed firearm dealer, in violation of Title 18, United States Code,

  Section 922(a)(6). (DE 3). The trial in this case is set to begin on February 22, 2022. (DE 49).

                                              ARGUMENT

          At the pretrial status conference, the defense indicated that, at that time, it did not intend to

  argue an insanity or diminished capacity defense. Nevertheless, the government moves to preclude

  any evidence or argument regarding the defendant’s mental condition which would tend to show;

  (1) that his state plea to aggravated battery charges was involuntary/invalid, (2) that he was

  unaware that his state plea made him a convicted felon, and/or (3) that he was unaware of the

  nature/consequences of his actions, or (4) lacked the requisite mens rea when filling out the ATF

  forms at issue in this case. This Court should preclude the defendant from introducing such

  evidence or making any arguments to this effect.

      a. The defendant has provided no discovery or notice regarding an intent to assert a
         mental health defense.

          As a preliminary matter, the defendant has provided no reciprocal discovery in this case,

  let alone any reports (expert or otherwise) that would support the introduction of evidence

  regarding the defendant’s mental condition.

          Pursuant to Federal Rule of Criminal Procedure 12.2(b), “[i]f a defendant intends to

  introduce expert evidence relating to a mental disease or defect or any other mental condition of

  the defendant bearing on . . . (1) the issue of guilt . . ., the defendant must--within the time provided

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  for filing a pretrial motion or at any later time the court sets--notify an attorney for the government

  in writing of this intention and file a copy of the notice with the clerk.” The defendant has not

  provided/filed the requisite notice and has stated that he does not intend to so; therefore, he should

  be precluded from introducing such evidence at trial. See Fed. R. Crim. P. 12.2(d)(1) (“The court

  may exclude any expert evidence from the defendant on the issue of the defendant’s mental

  disease, mental defect, or any other mental condition bearing on the defendant’s guilt . . . if the

  defendant fails to: (A) give notice under Rule 12.2(b); or (B) submit to an examination when

  ordered under Rule 12.2(c).”).

     b. The defendant has not filed a notice of intent to assert an insanity defense.

         Pursuant to Federal Rule of Criminal Procedure 12.2(a), a defendant who intends to raise

  an insanity defense at trial “must so notify an attorney for the government in writing . . . and file a

  copy of the notice with the clerk.”) The defendant has not provided or filed any such notice, and

  “[a] defendant who fails to do so cannot rely on an insanity defense.” Id. For this reason, the Court

  should prohibit any attempts by the defendant to rely on an insanity defense. The Court should

  further prohibit the defendant from making veiled attempts to rely on an insanity defense by

  making arguments that touch on the defendant’s capacity to understand his actions or that he did

  not possess the intent to commit the charged offenses.

     c. The defendant cannot assert a diminished capacity defense because he is charged with
        general intent crimes.

         Any evidence that the defendant suffered from a mental health condition or diminished

  capacity on November 28, 2018, and January 11, 2019, is not probative of the defendant’s mens

  rea because the indictment charges him with three general intent crimes. Peralta, 930 F.Supp. at

  1526. The Eleventh Circuit has explicitly found that violations of Title 18, United States Code,

  Section 924(a)(1)(A) (false statement in required information kept by a firearms dealer) (counts 1

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  and 3) and Title 18, United States Code, Section 922(a)(6) (a false statement to a federally licensed

  firearm dealer) (count 2) are general intent crimes. See United States v. Hawkins, 794 F.2d 589,

  591 (11th Cir. 1986) (citations omitted).

         At trial, it is the government’s understanding, that the defendant may attempt to argue that

  he did not know he was a convicted a felon when he filled out the ATF Form 4473 at General

  Pawn and Estrella de Oro #19. Specifically, the defendant may argue that his mental health

  condition or diminished capacity impaired his ability to understand that he was a convicted felon

  on the dates charged, and, therefore, did not intend to make a false statement when he checked

  “no,” next to question 11(c).

         The crimes charged in the indictment are general intent crimes and “to the extent [the

  defendant] seeks to introduce psychological evidence for the purpose of establishing that he lacked

  a sufficiently culpable mental state to commit the charged offenses, the evidence is per se irrelevant

  and inadmissible since the charged offenses do not require proof of specific intent.” See Peralta,

  930 F. Supp. at 530 (emphasis in original). As discussed above, the defendant has not provided a

  single document of reciprocal discovery supporting an argument that his mental health condition

  or diminished capacity affected his knowledge on the dates charged.

         The Court should further prohibit any evidence that the jury could use to infer the existence

  of a mental health condition or diminished capacity. For example, one government witness told

  law enforcement, in March of 2019, that after the transaction occurred at Estrella de Oro, the

  defendant appeared to be mumbling to himself. Any questioning about this witness’s observation

  is inadmissible and irrelevant because its evidentiary value lies only in the inference that, at the

  time of the transaction, the defendant suffered from a mental health condition or diminished

  capacity, and therefore, made the false statement on the ATF Form 4473 unknowingly. See Id.



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  Any similar evidence, like the fact that the defendant stayed inside General Pawn after he was not

  approved to purchase a firearm and asked to leave, that may lead to a similar inference by the jury

  should also be precluded.

         Therefore, the government asks the court to exclude any evidence that may be used to infer

  that the defendant suffered from a mental health condition or diminished capacity at the time of

  the charged conduct as inadmissible and irrelevant.

     d. The defendant may not collaterally attack his prior conviction at trial.

         To the extent the defendant may seek to introduce evidence of his mental condition to

  collaterally attack his felony conviction (e.g., by arguing that he was incompetent at the time of

  his plea), he may not do so. See, e.g., Lewis v. United States, 445 U.S. 55, 100 S. Ct. 915, 63

  L.Ed.2d 198 (1980) (holding that to the extent prior state-court felony conviction may be subject

  to collateral attack, it could probably be used as a predicate for [the defendant’s] subsequent

  conviction for possession of a firearm in violation of § 1201(a)(1); United States v. Fillingim, 688

  F. App'x 670, 672 (11th Cir. 2017) (“The Supreme Court has held that in a federal prosecution for

  being a felon in possession of a firearm a defendant may not collaterally attack his prior conviction

  in order to negate the government’s evidence that he had a felony conviction.”); United States v.

  Washington, 544 F.App’x. 365 (5th Cir. 2013) (“Washington first contends that the district court

  should have quashed the indictment because his prior Louisiana felony conviction was

  constitutionally invalid. At the time of his arrest for the instant offense, however, Washington

  remained a convicted felon. Accordingly, his argument is foreclosed by Lewis v. United

  States.”); United States v. Leuschen, 395 F.3d 155, 157 (3d Cir. 2005) (“[w]e hold

  that Lewis precludes a defendant's collateral attack on a prior conviction in defense of a

  prosecution” of a statute which “prohibited firearm possession by convicted felons.”); Burrell v.



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  United States, 384 F.3d 22, 27–28 (2d Cir.2004) (“the determinate factor is defendant's criminal

  record at the time of the charged possession .... Thus, a § 922(g)(1) conviction is ‘not subject to

  attack on the ground that a predicate conviction is subsequently reversed, vacated or modified.).

         Accordingly, any evidence the defendant would seek to introduce to undermine the validity

  of his prior sentence, including evidence regarding his mental condition at the time of his plea, is

  irrelevant and should be excluded.

                                           CONCLUSION

         For the reasons set forth above the government respectfully requests that the Court grant

  its Motion and preclude the defense from putting forth any evidence relating to the Defendant’s

  mental health condition or diminished capacity at the time of the crimes charged or on the date of

  his July 2014 no contest plea.

                                                       Respectfully submitted,

                                                       JUAN ANTONIO GONZALEZ
                                                       UNITED STATES ATTORNEY

                                                By:    /s/ Bertila Lilia Fernandez
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 19, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                                       /s/ Bertila Lilia Fernandez
                                                       Bertila Lilia Fernandez
                                                       Assistant United States Attorney

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